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                                                                                                              Reset Form

 1                                          UNITED STATES DISTRICT COURT
 2                                       NORTHERN DISTRICT OF CALIFORNIA
 3                                                              )
     CUNG LE, NATHAN QUARRY, JON FITCH, on
                                                                )            14-05484-EJD
                                                                    Case No: _______________
     behalf of themselves and all others similarly situated
 4                                                              )
                                              Plaintiff(s),     )   APPLICATION FOR
 5                                                              )   ADMISSION OF ATTORNEY
               v.
                                                                )   PRO HAC VICE
 6   ZUFFA, LLC, d/b/a Ultimate Fighting                        )   (CIVIL LOCAL RULE 11-3)
     Championship and UFC                                       )
 7                                                              )
                                              Defendant(s).
                                                                )
 8
           I, Michael C. Dell'Angelo               , an active member in good standing of the bar of
 9    Supreme Court of PA           , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: Plaintiffs, Cung Le, Nathan Quarry, Jon Fitch in the
      above-entitled action. My local co-counsel in this case is __________________________________,
                                                                 Joseph R. Saveri                        an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                                          LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
       Berger & Montague, P.C. 1622 Locust St.,                      Joseph Saveri Law Firm, Inc., 505 Montgomery
14     Philadelphia, PA 19103                                        St., Suite 625, San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                                      LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (215) 875-3080                                                 (415) 500-6800
       MY EMAIL ADDRESS OF RECORD:                                    LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    mdellangelo@bm.net                                             jsaveri@saverilawfirm.com
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 80910        .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
           I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 12/22/14                                                          Michael C. Dell'Angelo
22                                                                                        APPLICANT

23
                                           ORDER GRANTING APPLICATION
24                                   FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Michael C. Dell'Angelo                     is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                                      UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                             October 2012
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